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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                     Case No. 11-20129

PATRICK MICHAEL MCKEOUN

           Defendant.
_______________________________/

           ORDER DENYING DEFENDANT’S “MOTION FOR DISCOVERY
                        AND BRADY MATERIALS”

      Before the court is Defendant Patrick Michael McKeoun’s “Motion for Discovery

and Brady Materials,” filed on April 9, 2012.1 In his motion, Defendant requests that the

Government provide various forms of discovery and materials consistent with Federal

Rule of Criminal Procedure 16, Brady v. Maryland, 373 U.S. 83 (1983), and the

Standing Order of Discovery. The Government filed a response indicating that it is

aware of its responsibilities and intends to comply with them. The court will therefore

deny the motion.

      “There is no general constitutional right to discovery in a criminal case.”

Weatherford v. Bursey, 429 U.S. 545, 559 (1977). Rather, “in most criminal

prosecutions, the Brady rule, Rule 16 and the Jencks Act, exhaust the universe of

discovery to which the defendant is entitled.” United States v. Presser, 844 F.2d 1275,

1285 n.12 (6th Cir. 1988). In Brady, the Supreme Court held that “the suppression by

the prosecution of evidence favorable to an accused upon request violates due process

      1
       Defendant David Thomas Roberts has filed a “Notice of Joinder” in Defendant’s
motion. (Dkt. # 48.)
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where the evidence is material either to guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.” Brady, 373 U.S. at 87; see also United States v.

Bagley, 473 U.S. 667 (1985); Giglio v. United States, 405 U.S. 150 (1972). However,

“while the Brady rule imposes a general obligation upon the government to disclose

evidence that is favorable to the accused and material to guilt or punishment, the

government typically is the sole judge of what evidence in its possession is subject to

disclosure.” Presser, 844 F.2d at 1281. The Supreme Court has stated that the

“defendant’s right to discover exculpatory evidence does not include the unsupervised

authority to search through the [Government’s] files.” Pennsylvania v. Ritchie, 480 U.S.

39, 59-60 (1987) (citations omitted). Indeed, the “Court has never held—even in the

absence of a statute restricting disclosure—that a defendant alone may make the

determination as to the materiality of the information. Settled practice is to the

contrary.” Id. Thus, when a defendant makes a request for Brady material, it is the

Government “that decides which information must be disclosed. Unless defense

counsel becomes aware that other exculpatory evidence was withheld and brings it to

the court’s attention, the prosecutor’s decision on disclosure is final.” Id. (emphasis

added) (footnote omitted). Consistent with this authority, the court will not issue an

order compelling pre-trial discovery where, as here, the government has stated that it is

aware of its obligations under Brady. As the Sixth Circuit stated in Presser, “the

government has represented that it will comply with all of its Brady obligations in time for

effective use of the Brady material at trial. The Brady doctrine did not create a

constitutional right of pre-trial discovery in a criminal proceeding.” Presser, 844 F.2d at




                                             2
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1284 (citing Weatherford v. Bursey, 429 U.S. at 559). As such, there is no need for

court intervention.2

          IT IS ORDERED that Defendant McKeoun’s “Motion for Discovery and Brady

Materials” [Dkt. # 46] is DENIED.


                                                               S/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: May 16, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 16, 2012, by electronic and/or ordinary mail.

                                                               S/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




          2
       Additionally, Defendant did not seek concurrence as required under the local
rules. See E.D. Mich. LcrR 12.1(a); E.D. Mich. LR 7.1(a).
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